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                            Nos. 22-13992-J & 22-13994-J

                  In the United States Court of
                  Appeals for the Eleventh Circuit
                              LEROY PERNELL, ET AL.,
                                         Plaintiffs–Appellees,

                                               v.

                                 BRIAN LAMB, ET AL.,
                                           Defendants–Appellants.

                             ADRIANA NOVOA, ET AL.,
                                        Plaintiffs–Appellees,

                                               v.

                              MANNY DIAZ, JR., ET AL.,
                                          Defendants–Appellants.

    ANSWER BRIEF OF APPELLEES ADRIANA NOVOA, SAMUEL
        RECHEK, AND THE FIRST AMENDMENT FORUM
          AT THE UNIVERSITY OF SOUTH FLORIDA
                 ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF FLORIDA
                              4:22-CV-324-MW-MAF

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                    the First Amendment Forum at University of South Florida
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CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

      Under Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rule No. 26.1(a)(6), Plaintiff-Appellees Adriana Novoa, Samuel

Rechek, and the First Amendment Forum at the University of South

Florida certify that the following persons have an interest in the

outcome:1

      1.     Almond, Russell, Plaintiff-Appellee

      2.     American Civil Liberties Union of Florida, Attorney firm for
             Plaintiffs-Appellees

      3.     American Civil Liberties Union of New York, Attorney firm
             for Plaintiffs-Appellees

      4.     Austin, Sharon Wright, Plaintiff-Appellee

      5.     Azis, Jacqueline Nicole, Attorney for Plaintiffs-Appellees

      6.     Ballard Spahr LLP, Attorney firm for Plaintiffs-Appellees

      7.     Benjamin, Aaronson, Edinger & Patanzo, P.A., Attorney firm
             for Plaintiffs-Appellees

      8.     Blankenship, Katherine, Attorney for Plaintiffs-Appellees

      9.     Boaz, Timothy, Defendant-Appellant

      10.    Burgess, Tiffani, Attorney for Plaintiffs-Appellees

      1 This certificate includes parties involved in the related appeal of Pernell v.
Lamb, No. 22-13992.


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    11.   Callahan, Sandra, Defendant-Appellant

    12.   Carrere, Michael, Defendant-Appellant

    13.   Cerio, Timothy, Defendant-Appellant

    14.   Coleman, Santino, Attorney for Plaintiffs-Appellees

    15.   Cooper & Kirk, PLLC, Attorney firm for Defendants-
          Appellants

    16.   Cooper, Charles J., Attorney for Defendants-Appellants

    17.   Corcoran, Richard, Defendant-Appellant

    18.   Dauphin, Johana, Plaintiff-Appellee

    19.   Diaz, Jr., Manny, Defendant-Appellant

    20.   Donnelly, N. Rogan, Defendant-Appellant

    21.   Dorsey, Dana Thompson, Plaintiff-Appellee

    22.   Dunn, Marvin, Plaintiff-Appellee

    23.   Edge, Aubrey, Defendant-Appellant

    24.   Edinger, Gary. S., Attorney for Plaintiffs-Appellees

    25.   Edwards, Jerry Crawford, Attorney for Plaintiffs-Appellees

    26.   Fajana, Morenike, Attorney for Plaintiffs-Appellees

    27.   First Amendment Forum at University of South Florida,
          Plaintiff-Appellee




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    28.   Fitzpatrick, Martin A., Magistrate Judge, U.S. District Court
          for the Northern District of Florida

    29.   Florida A & M University Board of Trustees, Defendant
          (Dismissed on Nov. 22, 2022)

    30.   Florida Board of Governors of the State University System,
          Defendant (Dismissed on Nov. 22, 2022)

    31.   Florida International University Board of Trustees,
          Defendant (Dismissed on Nov. 22, 2022)

    32.   Florida State University Board of Trustees, Defendant
          (Dismissed on Nov. 22, 2022)

    33.   Foundation for Individual Rights and Expression, Attorney
          Firm for Plaintiffs-Appellees

    34.   Frost, Patricia, Defendant-Appellant

    35.   Gabadage, Nimna, Defendant-Appellant

    36.   Gary S. Edinger & Associates PA — Gainesville, FL,
          Attorney for Plaintiffs-Appellees

    37.   Greubel, Greg, Attorney for Plaintiffs-Appellees

    38.   Griffin, Michael, Defendant-Appellant

    39.   Haddock, Edward, Defendant-Appellant

    40.   Hinger, Sarah Ann, Attorney for Plaintiffs-Appellees

    41.   Horton, Oscar, Defendant-Appellant

    42.   Johnson, Alexsis Marie, Attorney for Plaintiffs-Appellees

    43.   Jones, Ken, Defendant-Appellant


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    44.   Jordan, Darlene Luccio, Defendant-Appellant

    45.   Lamb, Brian, Defendant-Appellant

    46.   Leckerman, Jason Allen, Attorney for Plaintiffs-Appellees

    47.   Lee, Jin Hee, Attorney for Plaintiffs-Appellees

    48.   Leftheris, Julie, Defendant-Appellant

    49.   Levine, Alan, Defendant-Appellant

    50.   Lubin, Catharine E., Attorney for Plaintiffs-Appelees

    51.   Lydecker, Charles, Defendant-Appellant

    52.   Mabatah, Isiuwa, Jacqueline, Attorney for Plaintiffs-
          Appellees

    53.   Mateer, Craig, Defendant-Appellant

    54.   McLaurin, Charles, Attorney for Plaintiffs-Appellees

    55.   McNamara, Carline A., Attorney for Plaintiffs-Appellees

    56.   Michael, Deanna, Defendant-Appellant

    57.   Monbarren, Lauran, Defendant-Appellant

    58.   Moraff, Laura Beth, Attorney for Plaintiffs-Appellees

    59.   Morris, Joshua T. (JT), Attorney for Plaintiffs-Appellees

    60.   NAACP Legal Defense & Education Fund, Attorney firm for
          Plaintiffs-Appellees




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    61.   Nascimento, Isabella Salomao, Attorney for Plaintiffs-
          Appellees

    62.   Novoa, Adriana, Plaintiff-Appellee

    63.   Ohlendorf, John David, Attorney for Defendants-Appellants

    64.   Palyam, Nithin, Defendant-Appellant

    65.   Park, Shelley, Plaintiff-Appellee

    66.   Patel, Shilen, Defendant-Appellant

    67.   Pernell, Leroy, Plaintiff-Appellee

    68.   Piccolo, Fredrick, Defendant-Appellant

    69.   Ramer, John, Attorney for Defendants-Appellants

    70.   Rechek, Samuel, Plaintiff-Appellee

    71.   Sandoval, Jennifer, Plaintiff-Appellee

    72.   Schneider, Jenifer, Defendant-Appellant

    73.   Scott, Steven, Defendant-Appellant

    74.   Seixas, Melissa, Defendant-Appellant

    75.   Self, William, Defendant-Appellant

    76.   Silagy, Eric, Defendant-Appellant

    77.   Steinbaugh, Adam, Attorney for Plaintiffs-Appellees

    78.   Stermon, Kent, Defendant-Appellant

    79.   Sykes, Emerson James, Attorney for Plaintiffs-Appellees


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    80.   Tilley, Daniel Boaz, Attorney for Plaintiffs-Appellees

    81.   Tobin, Charles David, Attorney for Plaintiffs-Appellees

    82.   University of Central Florida Board of Trustees, Defendant
          (Dismissed on Nov. 22, 2022)

    83.   University of Florida Board of Trustees, Defendant
          (Dismissed on Nov. 22, 2022)

    84.   University of South Florida Board of Trustees, Defendant
          (Dismissed on Nov. 22, 2022)

    85.   Walker, Mark E., District Judge, U.S. District Court for the
          Northern District of Florida

    86.   Watson, Leah Monique, Attorney for Plaintiffs-Appellees

    87.   Weatherford, William, Defendant-Appellant

    88.   Wold, Megan M., Attorney for Defendants-Appellants



    Dated:     June 16, 2023

                                 Respectfully submitted,

                                 /s/ Greg H. Greubel                            .
                                 Greg H. Greubel

                                 Counsel for Plaintiff-Appellees Adriana
                                 Novoa, Samuel Rechek, and First
                                 Amendment Forum at University of
                                 South Florida




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            STATEMENT REGARDING ORAL ARGUMENT

        This case raises important questions about the constitutionality of

a state statute that restricts the viewpoints public university faculty

express in classroom discussions relevant to the courses they teach.

Plaintiffs-Appellees believe oral argument would help the Court decide

these important issues.

        Plaintiffs-Appellees request oral argument under 11th Cir. R. 28-

1(c).




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                    STATEMENT OF THE ISSUES

     (1)   The First Amendment bars the government from imposing

viewpoint-based restrictions on speech related to scholarship or teaching,

reflecting the need for academic debate in higher education. The Stop

WOKE Act’s blacklisting of particular viewpoints in university

classrooms prevents Professor Novoa from teaching her courses. Did the

district court correctly enjoin the Stop WOKE Act, finding that the Act

likely violates the First Amendment and injures Plaintiffs?

     (2)   Four sister circuits have rejected the argument, raised by

Defendants, that state officials have unfettered authority to control

speech related to scholarship or teaching of public professors, and no

circuit has held to the contrary. Yet Defendants insist that Florida has

limitless authority to dictate a lecturer’s every word, claiming that

faculty members are government speakers. Did the district court

correctly rule, like the four circuits to have considered the question, that

speech related to scholarship or teaching is not government speech?

     (3)   A law restricting expression is unconstitutionally vague if it

invites discriminatory enforcement and fails to provide adequate notice

of what it prohibits. The Stop WOKE Act is inherently contradictory



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because it places a condition on professors’ ability to be “objective,”

permitting   criticism   of   the   prohibited     concepts      but   making

“endorsement” per se discriminatory harassment. Did the district court

correctly hold that the Stop WOKE Act is unconstitutionally vague?

                    STATEMENT OF THE CASE

     Professor Adriana Novoa teaches history at the University of South

Florida (USF). She is joined by members of the First Amendment Forum

at USF, a student organization dedicated to fostering the diverse

exchange of ideas on their campus. All oppose the Stop WOKE Act stifling

their right to discuss various viewpoints at USF, where the “vigilant

protection of constitutional freedoms is nowhere more vital[.]” Shelton v.

Tucker, 364 U.S. 479, 487 (1960).

Factual Background

     The Stop WOKE Act imposes vague and viewpoint-based
     restrictions on campus speech, with severe penalties for
     violations.

     Section 1000.05 of the Florida Statutes—the Stop WOKE Act—

adds a new category of discrimination to the Florida Educational Equity

Act (FEEA): “instruction” that “espouses, promotes, advances, inculcates,

or compels” a student “to believe” any of eight enumerated viewpoints.

Fla. Stat. § 1000.05(4)(a). Each viewpoint (which the Act deems

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“concepts”) references “[m]embers of one race,” “[a] person,” or certain

“virtues.” Id.

      The Act’s implementing regulations provide that “instruction”

encompasses anything within “the process of teaching or engaging

students with content about a particular subject . . . within a course.” See

id. § 1000.05(6)(b); Fla. Bd. of Govs. Reg. No. 10.005(1)(c). It makes no

distinction between the professor, an unpaid guest speaker, or an

assigned reading—anything within “the process of teaching or engaging

students with content” by an “employee or a person authorized to

provide” that engagement is “instruction.” Fla. Bd. of Govs. Reg. No.

10.005(1)(c); Doc. 19-1 at 2, ¶ 6; Doc. 19-6 at 5.2

      The Act does not require intent or distinguish a professor’s

sincerely offered viewpoint from devil’s advocacy or Socratic dialogue. It

does not require that “instruction” be evaluated for whether it constituted

actionable discrimination under existing law, which is narrowly limited

to severe and pervasive conduct. Without this limit, any promotion of a

prohibited viewpoint is per se discriminatory harassment.



      2  Except where otherwise noted, all references to “Doc.” are docket entries
in the Novoa v. Diaz matter, Case No. 4:22-cv-324-MW/MAF (N.D. Fla.).


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      The Stop WOKE Act does not define its most important provisions.

It purports to permit “discussion of the concepts” only if “part of a larger

course of training or instruction” and “given in an objective manner

without endorsement of the concepts.” Fla. Stat. § 1000.05(4)(b). It fails

to define “objective manner”—its framers purported to prohibit faculty

from ever revealing their personal view, but expressly prohibited only

“endorsement” of a concept—and contains no saving clause urging

narrow interpretation. Id.; Doc. 19-1 at 4–9, ¶¶ 10, 13, 14; Doc. 19-13 at

51:13, 59:18, 1:18:44; Doc. 19-15 at 43:49, 55:00; Doc. 19-16 at 6:07:07.

      A professor who knowingly or unknowingly violates these

restrictions—which may be reported by students, colleagues, or the

general public3—faces institutional consequences ranging from an

administrative directive that they “modify” their discussion to

termination.

      The Act and its implementing regulations incentivize institutions

to impose the stiffest consequences for a professor’s violation, whether


      3   USF provides a public complaint form and urges that “[s]tudents, staff, and
faculty are strongly encouraged to report” even “suspected” violations of the Stop
WOKE Act. Doc. 19-1 at 11, ¶ 24; Doc. 19-29 at 3. USF policy obligates faculty to
report colleagues’ violations. Doc. 19-1 at 11, ¶ 23; Doc. 19-28 at 5 (all “members of
the faculty” are “supervisory employees” required to “promptly report” even
“allegations” of harassment).


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intentional or unintentional. If a court, the Board of Governors, or a

legislative committee determines that there has been any “substantiated

violation” of the Act, the university “shall be ineligible” for annual

performance funding. Fla. Stat. § 1001.92(5) (emphasis added). The Act’s

implementing regulations provide that if political appointees to the

Board of Governors believe that an institution’s response was not

“appropriate,” the institution will be ineligible for annual performance

funding. Fla. Bd. of Govs. Reg. No. 10.005(4)(d). For USF, a single

professor’s violation—by uttering the words “I think that affirmative

action has merit”—risks an annual loss of some $80,000,000. Doc. 19-1 at

10, ¶ 20; Doc. 19-24 at 2; Doc. 19-25 at 2.

     In addition to action by administrators, regulators, or legislators,

individual faculty members face potential lawsuits from any person

“aggrieved” by their course instruction. Fla. Stat. § 1000.05(9).

     Florida passed the Stop WOKE Act to restrict viewpoints in
     higher education with no findings to support its need.

     The Legislature did not identify any harm or need addressed by the

Act. The prefatory language of the bill announced that it was “providing

legislative findings,” but did not provide findings relating to higher

education. Doc. 1 at 17, ¶ 67; Doc. 1-1 at 2. Florida Governor Ron


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DeSantis proclaimed the purpose of the Act as “build[ing] on” his efforts

to “ban Critical Race Theory and the New York Times’ 1619 Project.” Doc.

19-1 at 3, ¶ 7; Doc. 19-11 at 2. When he signed the bill, Governor

DeSantis said it was to prevent the use of “Florida tax dollars” for

“teaching our kids to hate our country or to hate each other.” Doc. 19-1 at

3, ¶ 7; Doc. 19-11 at 2. After advocacy groups criticized the law’s impact

on higher education, the Governor’s office said the law’s purpose was to

prevent “indoctrinating students with CRT-inspired discriminatory

ideology.” Doc. 19-1 at 10, ¶ 18; Doc. 19-22 at 3.

      Florida institutions have construed the ambiguous Stop
      WOKE Act against open expression—as its framers intended.

      Institutions enforcing the Act have construed its provisions to reach

a vast range of academic expression. They have directed faculty to avoid

suggesting that “white people were responsible for enacting” Jim Crow

laws, offering any “critique of colorblindness,” or mentioning a protected

characteristic in “word problems” in science courses. Doc. 19-1 at 2–3,

¶ 6; Doc. 19-9 at 7; Doc. 19-10 at 8, 15. Universities and colleges have

warned faculty that they may be sued and that they may jeopardize their

institution’s funding. See, e.g., Doc. 19-1 at 2, ¶ 6; Doc. 19-5 at 4; Doc. 19-

6 at 7.


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     Institutions have understood the Act’s “objective manner and

without endorsement” mandate to prohibit any attempt to “persuade”

students or “indicate a preference for a particular concept,” and to require

that faculty be “uninfluenced by emotions.” Doc. 19-1 at 2–3, ¶ 6; Doc. 19-

5 at 4; Doc. 19-8 at 30; Doc. 19-10 at 4. One college’s attorney directed

faculty not to endorse “any opinion unless [it is] an opinion issued by the

Department of Education.” Doc. 19-1 at 2–3, ¶ 6; Doc. 19-10 at 11.

     University administrators also interpret the Act’s application to

“instruction” to reach not only a professor’s oral lectures, but also the

written material used in classes and volunteer guest speakers.

Administrators have warned faculty to place disclaimers on course

materials, cautioned that “assigned materials” could violate the Act, and

instructed them to cancel guest lecturers if the inviting faculty member

is concerned that their presentations or materials may violate the Act.

Doc. 19-1 at 2–3, ¶ 6; Doc. 19-6 at 5–6; Doc. 19-7 at 2; Doc. 19-9 at 13; Doc

19-10 at 14.

     Given that a single violation of the Act imperils millions of dollars

in annual funding, institutional leaders have strong incentives to

construe every ambiguity against open expression. To give just one



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example of its impact on teaching, some faculty are asking their college’s

president whether they must “scratch [material] out of the books” in their

classes. Doc. 19-1 at 10, ¶ 19; Doc. 19-23 at 4.

     The Stop WOKE Act chills Professor Novoa from introducing
     viewpoints necessary to teaching her courses.

     The Stop WOKE Act prohibits Plaintiffs from engaging in

uninhibited academic discussion, including topics Professor Novoa

teaches. Novoa’s courses draw on her expertise in race and gender in

Latin America and the history of science. Doc. 1 at 3, ¶ 10, 38, 43, ¶ 143.

Novoa has also co-authored two books, including From Man to Ape:

Darwinism in Argentina, 1870–1920. Doc. 1 at 38, ¶ 144. Because Novoa

is a cultural historian by training, her courses deal with modern culture,

ethnicity, gender, and race. Doc. 1 at 38, ¶ 145. Novoa’s lectures and

written materials include the endorsement of “concepts” the Stop WOKE

Act prohibits. Id. ¶ 146. To “instruct” her students on any culture in the

nineteenth and twentieth centuries, Novoa must “advance” concepts

prohibited by the Act. Id.

     After the Stop WOKE Act passed, Novoa scrutinized her syllabi to

determine whether the law prohibits assigned materials or lecture topics.

Doc. 1 at 43, ¶ 148. She concluded that some assigned readings and


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lectures would violate the Act when included in these classes, which she

regularly teaches: (1) Science in Cultural Context, (2) History of Sports,

and (3) Modern Latin America. Doc. 1 at 38, ¶ 147.

     Science in Cultural Context. Novoa has taught the course

Science in Cultural Context since 2020. Doc. 1 at 40–41, ¶¶ 152, 157. She

covers issues like (i) the historical development of science to “understand

the complicated ways in which science and the cultures in which it is

embedded interact and shape each other[,]” Doc. 1 at 41, ¶ 158, and

(ii) how race and the theory of natural selection have been used to

“promote” Social Darwinism, including the perceived inferiority of

indigenous peoples. Doc. 1 at 41, ¶¶ 158–59.

     Novoa also assigns her book, From Man to Ape: Darwinism in

Argentina, 1870–1920, which discusses how Latin American scientists

are relegated “to the status of derivative thinkers” when compared to

European scientists. Doc. 1 at 41–42, ¶¶ 161, 163 (emphasis added);

Doc. 19-31 at 2, ¶ 6; Doc. 19-36 at 4. Novoa treats “the existence of racial

privilege as a given” in the course. Doc. 44 at 66. In engaging students in

discussion and debate on racial privilege and its ongoing implications,

Novoa intends to “advance” viewpoints prohibited by the Stop WOKE



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Act. Doc. 1 at 38–44, ¶¶ 146, 155–56, 164–65, 171–72. Her coursework

contains examples from the history of science illustrating how a person’s

status as privileged or oppressed is necessarily determined by their race,

color, national origin, or sex—and how those considerations continue to

shape our world today. Doc. 44 at 48.

     History of Sports. Novoa has taught History of Sports since 2015.

Doc. 1 at 44, ¶ 174. In these classes, Novoa assigns an article, Left Out:

Afro-Latinos, Black Baseball, and the Revision of Baseball’s Racial

History (Left Out). Doc. 1 at 44, ¶ 176; Doc. 19-31 at 1, ¶ 2; Doc. 19-32. In

lectures, Novoa uses Left Out to “advance” the argument that Afro-Latino

baseball players, despite coming from different backgrounds and

cultures, were reduced to their perceived racial identity. Doc. 1. at 46,

¶ 180. Moreover, Novoa regularly assigned a reading that argues “despite

making progress on racial issues, the United States remains segregated

by race.” Doc. 1 at 47, ¶ 182. Further, Novoa promotes a reading that

asserts “white Americans have historically been privileged to the

detriment of non-white” or “subordinate groups[.]” Doc. 1 at 49, ¶ 193.

     Modern Latin America. In this course, Novoa teaches the history

of “oppression” of certain groups by other, more “privileged” groups.



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Doc. 1 at 50, ¶ 197. Novoa regularly teaches about “[t]he period that

followed the end of the independence movements [that] . . . set the

foundation of societies defined by social inequality, poverty, racism, and

violence.” Doc. 1 at 50, ¶ 198. She also teaches students about the notion

of “collective guilt,” which requires her to “advance” the concept that a

person’s “status as . . . privileged . . . is necessarily determined by his or

her race [or] color[]” in certain cultures. Doc. 1 at 51–52, ¶¶ 202, 205, 207.

      Novoa discusses the case of Damiana-Kryygi to illustrate the

concept. Doc. 1 at 52, ¶ 207. Damiana-Kryygi was a member of

Paraguay’s indigenous Aché community. Id. European explorers killed

Damiana-Kryygi’s parents, kidnapped her, and took her to live in Buenos

Aires, where she worked as a maid of a famous physician. Id. After her

death, Damiana-Kryygi’s head was severed and sent to Berlin for

phrenological and other pseudoscientific studies because it was believed

that her “race” was being extinguished. Id.

      The Stop WOKE Act prohibits Novoa from stating that race has

continuing ramifications for social order in Argentine society. Doc. 1 at

52, ¶ 210. This is because Novoa’s teaching on the subject of collective

guilt could be interpreted to invite students to consider whether one



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national origin (Aché) is “morally superior” to another national origin

(Argentine).

     The Stop WOKE Act limits members of the First Amendment
     Forum from accessing information and ideas.

     Rechek enrolled in Novoa’s Science in Cultural Context class for the

Spring 2023 semester, and members of his organization—the First

Amendment Forum at USF—intend to take Novoa’s courses and want to

do so without the viewpoint-discriminatory constraints of the Stop

WOKE Act. Doc. 1 at 40, ¶ 153; Doc. 1 at 56–57, ¶¶ 226, 232.

     The members of First Amendment Forum are adults and capable of

determining for themselves the merits of Novoa’s views on race and other

matters. Doc. 1 at 56, ¶¶ 227–28. But they cannot assess Professor

Novoa’s viewpoints unless they are allowed to hear them. Doc. 1 at 57,

¶ 229. Novoa and members of the First Amendment Forum—a willing

speaker and willing listeners—want to engage in academic discussion

about the pedagogically-relevant topics in Novoa’s courses. Doc. 1 at 57,

¶¶ 230–32.

     The Stop WOKE Act prohibits academic discourse between

consenting adults. It narrows the range of viewpoints available to

members of the First Amendment Forum and prevents them from


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benefitting from robust debate. See Doc. 1 at 57–59, ¶¶ 234–35, 238. The

First Amendment Forum’s members cannot engage in a full and frank

discussion of matters prohibited by the law—like issues over race and its

historic and modern roles—if they fear a professor’s response to their

questions could be reported to administrators, the Inspector General, or

lawmakers. Doc. 1 at 58–59, ¶¶ 235, 238(c). More broadly, the Act chills

students’ access to information unfettered by ideological filters imposed

by political officials. Doc. 1 at 58–59, ¶ 238(b).

Prior Proceedings: The District Court Enjoins the Stop WOKE
Act.

      On September 6, 2022, Plaintiffs filed a verified complaint and a

motion for a preliminary injunction against the Act. Doc. 1; Doc. 19. The

district court heard argument on Plaintiffs’ motion and a motion for a

preliminary injunction in a related matter, and on November 17, 2022,

resolved both in a single opinion.4 Doc. 44.

      The district court granted, in part, the motions for a preliminary

injunction. The district court enjoined the Novoa Defendants from


      4    By agreement of the parties, the State’s arguments in the related matter,
Pernell v. Fla. Bd. of Governors of the State Univ. Sys, No. 4:22cv304-MW/MAF (N.D.
Fla. Aug. 18, 2022), were incorporated by reference into its responses to the Novoa
plaintiffs’ complaint and motion for preliminary injunction. This Court consolidated
the cases on its own motion on February 23, 2023. (11th Cir. Doc. 23).


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enforcing concepts 1, 2, 3, 5, and 7 of section 4(a) of the Act,5 section 4(b)

of the Act as to those concepts, and Board of Governors Regulations

10.005(2)–(3) and 4(d) as to the enjoined concepts. Doc. 44 at 137–38. The

district court enjoined the Pernell defendants from enforcing the

remaining concepts. Id. at 136. The Court held that Plaintiffs were likely

to succeed on their claims that the Stop WOKE Act violated their First

Amendment rights and determined that the entirety of the Act was

impermissibly vague in violation of the Fourteenth Amendment. Id. at

107–08, 130.

      Defendants appealed (Doc. 46) and asked this Court to stay the

preliminary injunction (11th Cir. Doc. 7), which was denied. Order,

Pernell v. Comm’r of the Fla. State Bd. of Educ., No. 22-13992 (Doc. 43),

2023 WL 2543659 (11th Cir. Mar. 16, 2023).

Standard of Review

      This Court reviews “the grant of a preliminary injunction for abuse

of discretion, reviewing any underlying legal conclusions de novo and any



      5   These concepts are: 1) moral superiority of one group over another; 2)
conscious or unconscious bias due to membership in a group; 3) status as privileged
or oppressed due to membership in a group; 5) responsibility for or should be treated
adversely due to membership in a group; and 7) responsibility for and should feel
guilt due to others’ past actions. Fla. Stat. § 1000.05(4)(a).


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findings of fact for clear error.” Gonzalez v. Governor of Ga., 978 F.3d

1266, 1270 (11th Cir. 2020). Applying a “very narrow” and “deferential”

standard, this Court will find a district court abused its discretion if it

“applies an incorrect legal standard, applies the law in an unreasonable

or incorrect manner, follows improper procedures in making a

determination, or makes findings of fact that are clearly erroneous.” See

id.

                  SUMMARY OF THE ARGUMENT

      Our Nation’s marketplace of ideas depends on public universities.

Keyishian v. Bd. of Regents, 385 U.S. 589, 603 (1967). In barring

legislated “pall[s] of orthodoxy” over the college classroom, the Supreme

Court recognized that faculty and students discover “truth ‘out of a

multitude of tongues, (rather) than through any kind of authoritative

selection.’” Id. Florida replaces that “robust exchange of ideas” with

unabashed censorship, commanding that public university faculty toe the

party line by not advancing eight blacklisted viewpoints.

      The Stop WOKE Act is a sweeping, viewpoint-driven speech code

imposed on every graduate and undergraduate class, no matter how

relevant the view may be to the course’s subject matter. It does so without



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regard for whether anyone was harmed, serving no purpose other than

state censorship. The district court rightly enjoined this “positively

dystopian” law as a violation of the First Amendment. Doc. 44 at 2.

     Plaintiffs have standing to challenge the Act. Professor Novoa’s

verified allegations show her classroom speech would arguably violate

five blacklisted concepts, like the view that “status as either privileged or

oppressed is necessarily determined by . . . race[.]” Doc. 1 at 41–51,

¶¶ 160, 162, 171, 178(b)–(d), 180, 187, 194, 205. That meets Article III’s

standing requirement for a pre-enforcement challenge, especially when

the State's zeal to enforce the Act will reach Novoa’s teaching—which

uses past events to discuss how race currently affects scientific research.

     The Stop WOKE Act violates the First Amendment because it fails

this Court’s holding in Bishop v. Aronov, which applies a balancing test

to evaluate whether a university’s interests are sufficient to overcome

faculty members’ First Amendment rights in classroom discussion. 926

F.2d 1066 (11th Cir. 1991). Although the State agrees that this is the

correct legal standard, it cannot show that the district court’s careful

weighing of Bishop’s factors was “unreasonable or incorrect[.]” Gonzalez,

978 F.3d at 1270. The State instead seeks to strip Bishop of its balancing



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test by replacing it with a bright-line rule: that faculty are government

speakers without any First Amendment protection.

     The State is wrong: Bishop’s balancing test necessarily recognizes

that the First Amendment protects faculty expression, and in carefully

applying the Bishop factors to a nakedly viewpoint-based ban on ideas,

the district court rightly held that the Act violates the First Amendment.

     That is all the more so because the Stop WOKE Act is a sweeping

restraint on thousands of faculty members speaking to thousands of

students, tipping the scale in Bishop—which considered post hoc action

tailored to a single professor’s discussions of dubious relevance to his

course—even further. Under the Supreme Court’s post-Bishop decision

in United States v. National Treasury Employees Union, 513 U.S. 454

(1995) (“NTEU”), the State carries a heavier evidentiary burden to justify

broad speech codes reaching vast groups of speakers addressing a wide

audience, as the Stop WOKE Act does, because they “chill[] potential

speech before it happens.” Id. at 468. But the State has identified no

actual harm the Act alleviates—let alone summoned any evidence to

support its fears.




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     Because Bishop and four other circuits’ decisions establish that the

First Amendment protects faculty academic speech, the Court should

reject the State’s claim that faculty speech is instead government speech.

The district court is in good company by rejecting the authoritarian

notion that scholars are state spokespersons: Each circuit court to have

considered the question has held that the First Amendment protects

scholarship and teaching in higher education. See p. 42, n.19, infra.

     Unable to point to a decision holding otherwise, the State spins up

scenarios about Nazi sympathizers and racists. But unlike the State’s

imagined hypotheticals, the Stop WOKE Act imposes actual censorship.

It foists serious consequences on faculty for unintentional or trivial

violations, and imperils millions of dollars of their institutions’ budgets

for a single professor’s remark. A lionhearted lecturer might risk their

own job to utter the words “I agree with affirmative action” (one of the

banned concepts, as the State conceded6), but only a foolish professor

would risk their colleagues’ livelihood.

     The law’s vagueness exacerbates its danger to free expression. It

demands “objectivity without endorsement,” and only for the prohibited


     6   Doc. 41, Tr. of Oral Arg. 91:1–3.


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concepts. This mechanism imposes a viewpoint-discriminatory filter over

the classroom. As the district court correctly observed, appellants’

“construction redefines the notions of both ‘objectivity’ and ‘criticism,’”

suggesting that “‘speech condemning a viewpoint is objective, but

approving a viewpoint renders the teaching unobjective.’” Doc. 44 at 117

(emphasis in original). Because the Act’s vague “objectively without

endorsement” requirement renders the entire challenged statute

unconstitutionally vague, the Court should refuse Defendants’ invitation

to sever the requirement.

     As the Supreme Court observed, the “essentiality of freedom in the

community of American universities is almost self-evident.” Sweezy v.

New Hampshire, 354 U.S. 234, 250 (1957). The Court should uphold that

essential freedom and affirm.

                              ARGUMENT

I.   The District Court Correctly Held Plaintiffs Have Standing.

     The District Court correctly found Plaintiffs have standing to bring

a pre-enforcement challenge against the Stop WOKE Act. Plaintiffs

demonstrated (1) an intent to “engage in a course of conduct arguably”

protected by the First Amendment; (2) that the Act arguably proscribes



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that conduct; and (3) that there is a credible threat of enforcement.

Wollschlaeger v. Governor of Fla., 848 F.3d 1293, 1304 (11th Cir. 2017)

(quoting, in part, Susan B. Anthony List v. Driehaus, 573 U.S. 149, 160

(2014)); see also Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1119–20

(11th Cir. 2022) (applying Driehaus in pre-enforcement challenge to

university’s “bias-related incidents” policy); Doc. 44 at 68, 82–85. The

State does not challenge whether this is the operative test, or that there

is a credible threat of enforcement, but asserts only that the Plaintiffs

“never even claimed” that Novoa’s teaching would violate most of Stop

WOKE’s eight “concepts.” Appellants’ Br. 21. This is incorrect.

     To begin with, Professor Novoa specifically identified in her

Complaint and prior briefing that the third and seventh concepts

forbidden by the Stop WOKE Act affect her coursework, Doc. 1 at 45–46,

¶¶ 178–80; Doc. 1 at 51, ¶¶ 202–06, and the State even admitted that

Novoa has “standing to challenge concept number Seven[.]” Doc. 33-1

at 6. Based on the allegations in her Verified Complaint, the district court

held that her instruction on race consciousness and collective guilt

arguably violated the first, second, third, fifth, and seventh concepts

barred by the Act, and that she reasonably self-censored her teaching as



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a result. Doc. 44 at 67–68. Appellants’ assertions that Plaintiffs failed to

allege that Novoa’s expression potentially violates the Act simply

misreads the record and misapplies the law. It also illustrates that the

Act’s vagueness invites arbitrary and discriminatory enforcement

untethered to any bona fide interest in addressing discriminatory

conduct.

     The State’s cramped view of standing would require Plaintiffs to

name all of the affected courses, together with the associated professors

and full roster of registered students, as a condition for standing.

Appellants’ Br. 20–23. But the Driehaus standard, acknowledging the

need to avoid chilling effects that arise even before a law is enforced, only

requires Novoa to show that her teaching “arguably” violated the Stop

WOKE Act. Speech First, Inc., 32 F.4th at 1119–20 (quoting Driehaus,

573 U.S. at 159 (emphasis added)). In this regard, the district court

correctly observed that Novoa’s teaching on collective guilt implicates the

first, second, third, fifth, and seventh concepts of the Stop WOKE Act

because her teaching on “collective guilt could cause students to believe

that their moral character is determined by their race, sex, or national

origin,” that “they bear their own form of collective responsibility and



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‘must feel anguish,’” that “they are ‘inherently racist, sexist, or

oppressive,’” or “that they bear responsibility for ‘actions committed in

the past by other members of the same race, color, national origin, or

sex[.]’” Doc. 44 at 67–68 n.34 (citing Fla. Stat. § 1000.05(4)(a)1–3, 5, & 7).

      These sound conclusions are amply supported by the record. In her

Sciences in Cultural Context course, Novoa treats “the existence of racial

privilege as a given[.]” Doc. 44 at 65–66 (citing Doc. 1 at 41–43, ¶¶ 161,

170). The State believes that Novoa “misunderstood [concept three] to

mean that it covered mere descriptions of instances of past historical

racism.” Appellants’ Br. 21 (citing Doc. 33-1 at 4–14). But Novoa’s

instruction does not simply acknowledge historical understandings of

race. Rather, it uses past historical events to help analyze how race

continues to play a role in the attainment of knowledge in science today.7

Novoa does not teach that the impact of these racial hierarchies suddenly

stopped—she teaches that its manifested impacts are ongoing. Thus, in

engaging students in discussion, reflection, and debate on these books


      7 For example, in Picturing Tropical Nature, the author argues that “racial
differences between human groups became a chief means by which the human world
was mapped” in the modern world. Doc. 1 at 43, ¶ 170. In From Man to Ape:
Darwinism in Argentina, 1870–1920, Professor Novoa and her coauthor argue that
Latin American scientists have been regarded as “derivative thinkers” based on their
national origin. Doc. 1 at 41–42, ¶ 161.


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and the concept of racial privilege, Novoa’s instruction in Sciences in

Cultural Context endorses concept three. Doc. 44 at 65–66.

     In her class History of Sports, Novoa also violates the third

prohibited concept by instructing her students on the concept of racial

privilege and its impact on today’s sports’ landscape. Doc. 1 at 46–49,

¶¶ 179, 180, 184, 186, 193. Novoa’s instruction on Left Out “is

pedagogically relevant to the course because it offers an argument as to

the role race and national origin played in the color barrier and how its

elimination is perceived today.” Doc. 1 at 46, ¶ 181 (emphasis added).

Novoa instructs students that the author of Jackie Robinson’s Legacy

“argues that despite making progress on racial issues, the United States

remains segregated by race.” Doc. 1 at 47, ¶ 184 (emphasis added).

“Novoa promotes these arguments through her lectures . . . which

arguably implicates IFA’s concept three.” Doc. 44 at 66.

     Ultimately, the State misunderstands the degree to which Novoa,

as a cultural historian, seeks to teach students about the current state of

society based on lessons learned from the past. As the saying goes,

“[t]hose who cannot remember the past are condemned to repeat it.”8 Yet


     8   1 G. Santayana, The Life of Reason (1905).


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the State, eager to declare victory over centuries of strife over race and

gender, seeks to prohibit Novoa—and all historians teaching in Florida’s

institutions of higher education—from frankly discussing the historical

development of certain ideas and their ongoing effect on today’s world.

      In her class Modern Latin America, Novoa’s teaching regarding the

concept of collective guilt could compel students to believe that one

national origin (Aché) is “morally superior” to another national origin

(Argentine), which is ultimately for students to decide for themselves.

Doc. 1 at 52–53, ¶¶ 209—11. For example, if a German student heard the

lecture and felt bad about his country’s role in the Second World War,

then Professor Novoa’s instruction would violate the Stop WOKE Act.

The German student might then be shocked to learn that Florida

considers discussion of collective guilt—the subject of much debate since

World War II by renowned thinkers such as Karl Jaspers and Hannah

Arendt—to be verboten.9

      Based on these examples from the complaint and briefing, the

district court correctly reasoned that Novoa’s classroom discussion of



      9 Karl Jaspers, “The Question of German Guilt” (1965); Hannah Arendt,
“Eichmann in Jerusalem: A Report on the Banality of Evil” (1963).


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privilege and collective guilt arguably violated five concepts proscribed

by the Stop WOKE Act. There is little doubt the Stop WOKE Act targets

those ideas: Florida legislators made clear they believe such notions

might “teach [our] kids to hate this country or to hate each other.”

Doc. 19-1 at 3, ¶ 7; Doc. 19-11 at 2.

      Simply claiming that the district court engaged in “judicial

intervention” that was “the plainest of errors” does not make it so.

Appellants’ Br. 22. The State does not argue that the district court

misidentified the controlling legal standard, cannot show that its

application of the standard to the facts was unreasonable, and does not

identify any finding of fact it claims to be “clearly erroneous.” Gonzalez,

978 F.3d at 1270. Accordingly, the Court should affirm the district court’s

holding on standing.

II.   The District Court Correctly Found the Act Fails Scrutiny
      Under Bishop’s Balancing Test.

      The district court correctly applied the factors this Court identified

in Bishop v. Aronov, 926 F.2d 1066 (11th Cir. 1991), to find the Act

violates the First Amendment. To that end, the district court rightly

rejected the State’s invitation to ignore Bishop and, in its place, adopt a

new theory: that academic speech is government speech over which


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legislators and college administrators have unfettered authority to

promulgate lists of prohibited viewpoints. This Court should reject that

incorrect and Orwellian view of the First Amendment and affirm.

     Bishop crafted a “case-by-case” balancing test, derived from

Pickering v. Board of Education, 391 U.S. 563 (1968), to evaluate the

First Amendment protection of public university faculty members’

curricular speech. Bishop, 926 F.2d at 1072, 1074–75. Taking as its

“polestar” the concern for the school’s “basic educational mission” set

forth in Kuhlmeier, Bishop authorized only “reasonable restrictions” for

in-class speech. Bishop, 926 F.2d at 1072, 1074 (quoting, in part,

Hazelwood Sch. Dist. v. Kuhlmeier, 484 U.S. 260, 272–73 (1988)). As part

of the case-by-case analysis, Bishop instructs courts to balance (1) the

overall “context” of the regulation; (2) the extent to which a public

university may reasonably restrict the rights of employees; and (3) “the

strong predilection for academic freedom as an adjunct . . . of the First

Amendment.” Id. at 1074–75. The Stop WOKE Act fails this test.

     A.    The Stop WOKE Act fails Bishop’s balancing test
           because it is viewpoint-discriminatory.

     The Eleventh Circuit’s reliance on Kuhlmeier’s concern for the

“basic educational mission” of schools does not permit carte blanche


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approval for the state to dictate curricular speech based on viewpoint in

higher education.10 Conducting the Pickering balancing test in Rankin v.

McPherson, the Supreme Court cautioned that “[v]igilance is necessary

to ensure that public employers do not use authority over employees to

silence discourse, not because it hampers public functions but simply

because superiors disagree with the content of employees’ speech.”

Rankin v. McPherson, 483 U.S. 378, 384 (1987); accord Pickering, 391

U.S. at 574.

      The State argues that Bishop permits viewpoint discrimination in

higher education so long as those viewpoint restrictions are “reasonable.”

Appellants’ Br. 43–44. This Court, however, has already explained that

the “prohibition against viewpoint discrimination” remains “firmly

embedded” in First Amendment analyses, and thus it “will continue to




      10  The Supreme Court recognized the context of Kuhlmeier as a student
speech case that evaluated the “emotional maturity” of “elementary” through “high
school” students. Kuhlmeier, 484 U.S. at 272–73. In seeking to extend Kuhlmeier to
the circumstances here, the State infantilizes adult students, demonstrating why the
Tinker line of K–12 student speech cases is not appropriate for application to
collegiate speech generally, and particularly collegiate faculty speech. See, e.g.,
Speech First, Inc. v. Cartwright, 32 F.4th 1110, 1127 n.6 (11th Cir. 2022); Boring v.
Buncombe Cnty. Bd. Of Educ., 136 F.3d 364, 373 (4th Cir. 1998) (Kuhlmeier’s “test
for evaluating restrictions on student speech within curricular activities” is
inapplicable to “teacher speech through the curriculum itself”) (Luttig, J., concurring)
(emphasis in original).


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require” that curricular decisions be “viewpoint neutral.” Searcey v.

Harris, 888 F.2d 1314, 1325 (11th Cir. 1989). Reasonable restrictions do

not include viewpoint discrimination, which is “poison to a free society.”

Iancu v. Brunetti, 139 S. Ct. 2294, 2302 (2019) (Alito, J., concurring);

Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 828–29

(1995). That is especially so in higher education, where freedom of

expression “is of critical importance because it is the lifeblood of academic

freedom.” DeJohn v. Temple Univ., 537 F.3d 301, 314 (3d Cir. 2008).

      This echoes Keyishian’s holding that legislatures cannot limit the

range of ideas available in higher education. Keyishian, 385 U.S. at 603.

For decades, courts have rejected viewpoint discrimination at public

universities, rebuffing attempts to restrict ideas by limiting who may

teach,11 who may be invited to speak,12 which publications may be




      11   Keyishian, 385 U.S. at 603 (loyalty oaths for university faculty).
      12   Molpus v. Fortune, 432 F.2d 916, 917 (5th Cir. 1970) (university speaker
bans); Brooks v. Auburn Univ., 296 F. Supp. 188, 196 (M.D. Ala. 1969) (holding that
the “State of Alabama cannot . . . regulate the content of the ideas students may hear”
as it is “unconstitutional censorship in its rawest form.”).


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funded,13 and what organizations may be recognized or funded.14 It also

tracks decisions on public employment generally. See, e.g., Amalgamated

Transit Union Loc. 85 v. Port Auth. of Allegheny Cnty., 39 F.4th 95, 108

(3d Cir. 2022); Wolfe v. Barnhart, 446 F.3d 1096, 1108–09 (10th Cir. 2006)

(collecting cases).

      Ignoring the great weight of authority affording breathing room to

debate in higher education, the State relies on Arce v. Douglas, an out-of-

circuit case considering the “primary legitimate purpose” of a statute

intended to teach “pupils” in K-12 schools “to treat and value” others. 793

F.3d 968, 986 (9th Cir. 2015). That case, however, does not supply a

legitimate, much less compelling, interest that would justify broad

restrictions on pedagogically relevant material and discussion among

adults. Id. The pedagogical concerns in educating children are profoundly

different from those in higher education. In K-12, instilling community

values in children may be a valid concern. See Bethel Sch. Dist. v. Fraser,




      13 Rosenberger, 515 U.S. at 825–29 (1995) (denial of funding to Christian
student newspaper).
      14   Healy v. James, 408 U.S. 169 (1971) (denial of recognition to student
political group); Gay & Lesbian Students Ass’n. v. Gohn, 850 F.2d 361, 363–67 (8th
Cir. 1988) (refusal of funding to student gay rights group following state legislature’s
resolution).


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478 U.S. 675, 681 (1986). But in higher education, that concern gives way

to the preeminent need for adult students to have unfettered exposure to

divergent views. Keyishian, 385 U.S. at 603. Unlike secondary school

pupils, the “desire to protect the listener cannot be convincingly

trumpeted as a basis for censoring speech for university students.”

McCauley v. Univ. of the V.I., 618 F.3d 232, 248–49 (3d Cir. 2010)

(distinguishing First Amendment cases in secondary schools due to the

age and maturity of students).

     Here, there is no question that the Stop WOKE Act discriminates

based on viewpoint and does so to shield students from ideas that

lawmakers dislike. The State conceded in the district court that each

prohibited concept itself represents a viewpoint. Doc. 41, Tr. of Oral Arg.

86:17–87:2. They maintain as much now. Appellants’ Br. 6 (defending the

prohibition of “viewpoints contrary to the Individual Freedom Act”). The

State boldly embraces this discrimination, proclaiming “Florida’s public-

university instructors are . . . prohibited from endors[ing]” any of the

eight concepts. Appellants’ Br. 52. Yet, nothing in the Act addresses

discriminatory conduct or hostile environments; it only restricts




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viewpoints the State abhors. And the stakes for endorsing anything but

the State’s prescribed views are quite high.15

      The Stop WOKE Act regulates speech specifically “because of its

message.” It is therefore “presumed to be unconstitutional.” Rosenberger,

515 U.S. at 828. The State can offer no justification to overcome this

strong presumption, and the district court did not apply an incorrect legal

standard in reasoning—as the State boasts—that the Act is viewpoint-

discriminatory or in considering the Act’s viewpoint discrimination in

Bishop’s ‘context’ factor. Doc. 44 at 93–96.

      B.     The district court correctly applied the “context” and
             employment factors of the Bishop balancing test.

      The district court properly considered the pedagogical relevance of

the speech regulated by the Act and the sweeping scope of the regulation

at issue—a viewpoint-discriminatory speech code imposed on thousands

of faculty at public institutions across the state. Doc. 44 at 93–96. It

likewise considered Bishop’s important recognition of the risk of coercion




      15   The law conditions millions in funding on institutions’ willingness to
penalize any professor who introduces a banned viewpoint—to the subjective
satisfaction of state regulators or a committee of the Florida Legislature. Fla. Stat.
§ 1001.92(5) (any “substantiated violation” of the Act means a university “shall be
ineligible” for annual performance funding).


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within the meaning of the Establishment Clause—a risk not addressed

by the Act. Id.

     On its facts, Bishop involved different issues and interests than the

Act. The former involved the response by a university—not a

legislature—tailored to address “particular conduct” by one professor

offering personal religious views with little (if any) connection to the

course subject matter, physiology. Bishop, 926 F.2d at 1069–71.

     In contrast, the Act is a categorical, viewpoint-discriminatory

speech code restricting thousands of faculty before their expression. And

where the university in Bishop sought to limit comments with uncertain

relevance to a single course, the Act has not “prescribed” a curriculum.

Appellants’ Br. 26. Instead, it is a speech code applicable to any course,

restricting viewpoints no matter how pedagogically relevant to the

discussion.

     First, the district court was correct to weigh pedagogical relevance

in evaluating the context of the regulation. Doc. 44 at 94–96. Academic

freedom would not protect a professor who consistently introduced




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controversial, but irrelevant, subject matter in her classes.16 Such speech

can be regulated not because of its viewpoint, but because of its relevance.

Conversely, the First Amendment protects teaching viewpoints that,

“however repugnant,” are “germane to the classroom subject matter.”

Hardy v. Jefferson Cmty. Coll., 260 F.3d 671, 683 (6th Cir. 2001).

      Second, Bishop was concerned with the university’s weighty

constitutional interests in avoiding coercion within the meaning of the

Establishment Clause. Bishop, 926 F.2d at 1069. While the State asserts

that its “interest in preventing invidious racial discrimination . . . is

embodied in our highest law,” even that interest must be addressed

through “less restrictive means.” Appellants’ Br. 44 (citing Bob Jones

Univ. v. United States, 461 U.S. 574, 604 (1983)). That’s why, as the

district court recognized, restrictions on pure speech in academia—

including those designed to address hostile environment harassment—

must be cabined to speech which meets a “severe, pervasive, and

objectively offensive” standard, to provide “shelter for core protected


      16  See, e.g., American Ass’n of Univ. Profs., 1940 Statement of Principles on
Academic Freedom and Tenure (rev. Apr. 1970), https://www.aaup.org/report/1940-
statement-principles-academic-freedom-and-tenure [https://perma.cc/RH7Y-FS7Q]
(“Teachers are entitled to freedom in the classroom in discussing their subject, but
they should be careful not to introduce into their teaching controversial matter which
has no relation to their subject.”).


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speech.” Doc. 44 at 43 (citing Davis v. Monroe Cnty. Bd. of Educ., 526 U.S.

629, 650 (1999); DeJohn, 537 F.3d at 317–18). The Act, by declaring

certain viewpoints de facto harassment, does an end-run around the

narrowing features the Constitution requires to provide breathing room

for speech in hostile-environment laws. Doc. 44 at 98–99.

     Third, the district court correctly recognized that the scope of the

State’s regulation—a prophylactic measure prohibiting speech by

thousands of faculty members—requires the State to meet the “heavier”

burden imposed by NTEU, which is addressed in Section III below.

Doc. 44 at 93. A “case-by-case” analysis of a university’s response to a

given incident is not applicable because the Act is a broad ban on speech.

     C.    The district court correctly applied the third Bishop
           factor weighing “countervailing” academic freedom.

     The third factor of the Bishop balancing test is the “countervailing”

factor of our constitutional system’s “strong predilection for academic

freedom as an adjunct of . . . the First Amendment.” Bishop, 926 F.2d at

1075. The State claims that “academic freedom is a right of institutional,

rather than individual, autonomy.” Appellants’ Br. 38. That conflicts

with Bishop and, as discussed fully in Section IV, with all other circuits

that have considered the question. The district court considered—as


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Bishop required—Novoa’s and the other plaintiff-professors’ interests in

academic freedom. The district court correctly recognized that the

professors are not “attempting to alter the permitted curriculum,” but are

interested in the academic freedom to engage in discussion of

pedagogically relevant ideas free from the “pall of orthodoxy.” Doc. 44 at

105–06 (quoting Keyishian, 385 U.S. at 603).

      The district court was correct. The Act would do irreparable damage

to faculty members’ academic freedom, which provides breathing room to

navigate controversial, pedagogically relevant subject matter. In higher

education, faculty often teach by feigning endorsement of a position—

that is, devil’s advocacy—or by inviting a guest speaker (even one

rebutted by another guest speaker) who may endorse a prohibited

viewpoint.17 Or they may present written material (“instruction” within

the meaning of the Act) that advances a prohibited viewpoint—not

because they agree with it, but because students may learn best by

grappling with difficult material. And in Professor Novoa’s classes, she




      17  See, Doc. 41, Tr. of Oral Arg. 79:11–81:15 (conceding that a guest speaker’s
endorsement of a prohibited viewpoint violates the Act and cannot be rendered
“objective” by rebuttal).


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inescapably advances prohibited viewpoints by providing instruction on

racial privilege and collective guilt.

      The district court correctly concluded that the Stop WOKE Act fails

the Bishop balancing test. The Act also fails the more stringent test

required by NTEU.

III. Because the Stop WOKE Act Broadly Censors Protected
     Speech, NTEU Demands the State Prove the Law Directly
     Alleviates a Real Harm.

      Bound by Bishop, the district court suggested that the State may

have to justify the Stop WOKE Act under the “heavier” burden of NTEU.

Doc. 44 at 93–95. This Court should affirm that NTEU applies to blanket

restrictions on faculty speech.

      In NTEU, the Court reviewed a law broadly prohibiting federal

employees from accepting honoraria for delivering speeches or writing

articles, even if the employees’ speech or article did not relate to their job

duties. NTEU, 513 U.S. at 457. In reviewing the honoraria policy, the

Court distinguished between “a post hoc analysis of one employee’s

speech and its impact on that employee’s public responsibilities . . . [and

an analysis of a] wholesale deterrent to a broad category of expression by

a massive number of potential speakers.” Id. at 467. Although courts



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apply Pickering to the former cases, the government bears a greater

burden in the latter cases involving broad prohibitions on employee

speech. Id.

     Under the heavier burden, a public employer must “show that the

interests of both potential audiences and a vast group of present and

future employees in a broad range of present and future expression are

outweighed by that expression’s ‘necessary impact on the actual

operation’ of the Government.” NTEU, 513 U.S. at 468 (quoting

Pickering, 391 U.S. at 571). To meet this “heavy” burden, the government

“must demonstrate that the recited harms are real, not merely

conjectural, and that the regulation will in fact alleviate these harms in

a direct and material way.” NTEU, 513 U.S. at 475 (quoting Turner

Broad. Sys., Inc. v. FCC, 512 U.S. 622, 664 (1994)).

     The Supreme Court recently reaffirmed the heightened burden on

public employers under the NTEU test for broad prohibitions curtailing

employees’ speech on matters of public concern. In Janus v. AFSCME,

Council 31, the Court emphasized that while it has “sometimes looked to

Pickering in considering general rules that affect broad categories of

employees, we have acknowledged that the standard Pickering analysis



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requires modification . . . .” when a policy broadly impacts employees’

speech. 138 S. Ct. 2448, 2472 (2018) (citing NTEU, 513 U.S. at 466–68).

      Although the State conceded at oral argument that NTEU would

apply if the court applied a balancing test, the State claims that no

balance is necessary because “Bishop already balanced the First

Amendment interests in this precise context . . . .”18 Appellants’ Br. 26.

Yet the State ignores that the Supreme Court’s NTEU decision came four

years after Bishop.

      More to the point, Bishop concerned an ad hoc determination over

one professor’s speech decided before the Supreme Court’s ruling in

NTEU. Bishop, 926 F.2d at 1074. By contrast, the Stop WOKE Act is a

broad prohibition on public-employee speech. Under both Bishop and

NTEU, it fails First Amendment scrutiny.

      Plaintiffs urge the Court to affirm that NTEU applies to broad

public-employee speech restrictions like the Stop WOKE Act. The State




      18 Appellants’ argument against NTEU is based solely on their overall theory:
professor speech is government speech. Appellant Br. 45. Thus, if this Court agrees
with the Fourth, Fifth, Sixth, and Ninth Circuits that professors’ speech on matters
of public concern is protected speech and not government speech, then Appellants’
argument against NTEU holds no weight.




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cannot satisfy the higher burden established by NTEU because it has not

shown that the law directly alleviates a real harm.

IV.   The First Amendment Protects Academic Expression by
      University Faculty.

      Aware that the Act cannot survive contact with the First

Amendment, the State seeks shelter in the government-speech doctrine.

The State asks this Court to be the first to rule that faculty members’

academic speech is subject to unfettered state control, envisioning a

world in which truth is discovered not from the “multitude of tongues,”

Keyishian, 385 U.S. at 603, but from the vote of the legislature. The

State’s novel theory is dangerous and wrong. That’s why the Fourth,

Fifth, Sixth, and Ninth Circuits have rejected it. This Court should also

reject it and adopt the reasoning of the Fourth, Fifth, Sixth, and Ninth

Circuits. Doing so does not require a great leap of fate because Bishop,

decided before Garcetti v. Ceballos, 547 U.S. 410 (2006), already

recognizes that the First Amendment protects faculty classroom speech.

Finally, the State waived its newfound “government-funding” theory by

failing to raise it in the district court.




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     A.    Every circuit considering Garcetti has rejected its
           application to academic expression in higher
           education.

     The State’s assertion that Garcetti strips faculty members’

classroom discussions of protection under the First Amendment is not

only inconsistent with Bishop, but at odds with every circuit to have

considered the argument. Appellants’ Br. 28–30.

     When the government acts as an employer, its regulation of

employee speech is evaluated under the Pickering test. NTEU, 513 U.S.

at 466; Bishop, 926 F.2d at 1072. “Nowhere is free speech more important

than in our leading institutions of higher learning.” Speech First, Inc., 32

F.4th at 1128. For faculty at public universities, where the “vigilant

protection of constitutional freedoms is nowhere more vital,” the ability

to speak free from State censorship is critical. Healy, 408 U.S. at 180–81

(quoting Shelton v. Tucker, 364 U.S. 479, 487 (1960) and “reaffirming this

Nation’s dedication to safeguarding academic freedom”).

     Garcetti did not change this calculus. If anything, it suggests that

the government-speech doctrine does not limit First Amendment

protection for academic speech. In his dissent, Justice Souter expressed

concern that the Garcetti majority opinion would depart from the Court’s



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commitment to academic freedom by reaching “even the teaching of a

public university professor,” who “necessarily speak[s] and write[s]

‘pursuant to . . . official duties.’” Garcetti, 547 U.S. at 438 (Souter, J.,

dissenting). Justice Souter emphasized the Court’s longstanding

recognition that universities “occupy a special niche in our constitutional

tradition” in light of the “expansive freedoms of speech and thought

associated with the university environment.” Id. at 438–39 (quoting

Grutter v. Bollinger, 539 U.S. 306, 329 (2003)). The Garcetti majority,

answering Justice Souter’s concern that its reasoning would “imperil

First Amendment protection of academic freedom in public colleges and

universities,” expressly left open whether its analysis would reach

“classroom instruction” by faculty at public universities, recognizing the

“important ramifications for academic freedom . . . as a constitutional

value.” Id. at 425 (majority opinion); Garcetti, 547 U.S. at 438 (Souter, J.,

dissenting).

     Neither Rosenberger nor Board of Regents of the University of

Wisconsin System v. Southworth, 529 U.S. 217 (2000), both predating

Garcetti, subvert this analysis. If the Garcetti majority—citing

Rosenberger throughout its majority opinion—believed either decision



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foreclosed Justice Souter’s concern, it would have said so. Instead, the

Court acknowledged that “classroom instruction” may implicate

“additional constitutional interests”—and expressly left the question

open. Garcetti, 547 U.S. at 425.

      Just as the Garcetti majority treated Rosenberger’s offhand

reference to curricula as dicta, the district court correctly rejected the

State’s attempt to “cherry-pick[] language, devoid of context” from

Rosenberger and Garcetti to suggest that the Supreme Court endorsed

the authority to engage in wholesale viewpoint discrimination over

faculty speech. Doc. 44 at 19–20.

      Every circuit that has considered Garcetti’s open question—the

Fourth, Fifth, Sixth, and Ninth—ultimately concluded that academic

speech, including in the classroom, is not government-speech subject to

Garcetti.19 Doc. 44 at 25. Instead, faculty speech is protected by the First




      19  See Adams v. Trs. of the Univ. of N.C.-Wilmington, 640 F.3d 550, 562–63
(4th Cir. 2011) (holding professor speech related to scholarship or teaching is
analyzed under Pickering); Demers v. Austin, 746 F.3d 402, 412 (9th Cir. 2014)
(same); Buchanan v. Alexander, 919 F.3d 847, 853 (5th Cir. 2019) (same); Meriwether
v. Hartop, 992 F.3d 492, 505 (6th Cir. 2021) (same).


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Amendment and analyzed under the Pickering balancing test (and, in the

case of broad restrictions, NTEU).20

      Despite these holdings, the State claims that “several circuits . . .

have recognized that the government speech doctrine applies to in-class

instruction by state-employed educators.” Appellants’ Br. 29. But a

review of the cases the State relies on reveals why that argument is

misplaced.

      First, the State cites then-Judge Alito’s Third Circuit decision in

Edwards v. California University of Pennsylvania, a case concluding

“that a public university professor does not have a First Amendment

right to decide what will be taught in the classroom.” 156 F.3d 488, 491

(3d Cir. 1998). As the district court observed, “Judge Alito distinguished

his holding from the Eleventh Circuit’s opinion in Bishop, describing the

Eleventh Circuit as ‘finding that a public university’s restrictions on a

professor’s in-class speech ‘implicated First Amendment freedoms.’”

Doc. 44 at 28. Next, this Court’s unpublished decision in Gilder-Lucas

and the Seventh Circuit’s decision in Mayer involved the speech of K-12



      20  Plaintiffs urge this Court to hold, like its sister circuits, that Garcetti does
not apply to faculty speaking as private citizens on matters of public concern.


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teachers, which does not raise the same constitutional concerns as

viewpoint restrictions in higher education. See, Gilder-Lucas v. Elmore

Cnty. Bd. of Educ., 186 F. App’x 885, 887 (11th Cir. 2006) (involving

speech of a high school teacher); Mayer v. Monroe Cnty. Cmty. Sch. Corp.,

474 F.3d 477, 478 (7th Cir. 2007) (involving speech of elementary school

teacher). Finally, the Fourth and Sixth Circuit have explicitly rejected

the State’s argument that the speech of public professors is government

speech. See Adams, 640 F.3d at 562–63; Meriwether, 992 F.3d at 505.

     In Meriwether v. Hartop, for example, the Sixth Circuit held that

the First Amendment protected faculty members—there, a professor who

refused to use a student’s preferred gender pronouns in class—when

“engaged in core academic functions, such as teaching and scholarship[.]”

992 F.3d at 505. Because the professor was speaking on matters of public

concern, the Sixth Circuit applied the Pickering balancing test,

considering the “robust tradition of academic freedom in our nation’s”

universities and colleges. Id. at 509 (quoting Hardy v. Jefferson Cmty.

Coll., 260 F.3d at 680).

     As the Sixth Circuit warned in Meriwether, stripping faculty of

First Amendment rights would embolden censors left and right:



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           If professors lacked free-speech protections when
           teaching, a university would wield alarming power
           to compel ideological conformity. A university
           president could require a pacifist to declare that
           war is just, a civil rights icon to condemn the
           Freedom Riders, a believer to deny the existence of
           God, or a Soviet émigré to address his students as
           “comrades.” That cannot be. “If there is any fixed
           star in our constitutional constellation, it is that
           no official, high or petty, can prescribe” such
           orthodoxy.

Id. at 506 (quoting, in part, W. Va. State Bd. of Educ. v. Barnette, 319

U.S. 624, 642 (1943)).

     The State’s theory invites “ideological conformity.” In the district

court, the State conceded that if Florida’s legislature changed hands, the

State “could prohibit the instruction on American exceptionalism because

it alienates people of color and minorities because it suggests . . . that

America doesn’t have a darker side that needs to be qualified.” Doc. 41,

Tr. of Oral Arg. 42:10–42:16. If officials can disseminate lists of views

that are per se discrimination, expression on matters of public concern

will be limited to the political whims of lawmakers and administrators.

     The State clings to the argument that the Stop WOKE Act is meant

to target Nazi sympathizers and racists, insisting that the district court’s

opinion will open up classrooms to vile discrimination. Appellants’ Br. 41.



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The statements of the Act’s drafters betray the State’s hypothetical

justifications. See pp. 7-8, supra. What’s more, the First Amendment

requires restrictions designed to address harassment to meet a “severe,

pervasive, and objectively offensive” standard in order to provide “shelter

for core protected speech.” Doc. 44 at 98–99 (quoting DeJohn, 537 F.3d at

317–18). The State’s purported need to prevent discriminatory conduct is

already well served by a panoply of existing federal and state laws. And

Bishop can balance the rights of a university against a professor teaching

factually wrong versions of history, like the professor imagined by the

State who teaches that “the Holocaust is a hoax and Nazis were the good

guys.”21 Appellants’ Br. 41.

      B.     Like the district court, this Court should reject the
             notion that college faculty classroom speech is
             government speech.

      Having admitted that the Stop WOKE Act censors speech based on

its viewpoint, the State has only one path: inviting this Court to be the

first to hold that public university faculty speech is government speech.


      21  See, e.g., Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (noting that
Title VII prohibits discriminatory conduct that is severe or pervasive); Hawkins v.
Sarasota Cnty. Sch. Bd., 322 F.3d 1279, 1286 (11th Cir. 2003) (“Florida has enacted
the ‘Florida Educational Equity Act,’ . . . which is patterned after Title IX and
prohibits discrimination based on” membership in a protected class “in the state
system of public education.”).


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Like the district court, this Court should decline the invitation. Doc. 44

at 25.

     As noted above, Bishop forecloses the State’s argument. In Bishop,

the Eleventh Circuit considered not whether faculty have First

Amendment rights, but “to what degree a school may control classroom

instruction” without violating those First Amendment rights. Bishop, 926

F.2d at 1073 (emphasis added). Because the First Amendment limits the

extent to which faculty classroom speech may be regulated, the

government-speech doctrine does not apply.

     Importing the government-speech doctrine into public university

classrooms would be fundamentally at odds with the purpose of higher

education and our national commitment to academic freedom. Faculty

are hired to speak from their academic expertise, not—as the district

court observed—to “all read from the same music.” Doc. 44 at 9. If the

divergent viewpoints that faculty use to educate students in public

university classrooms constitute government speech, then Florida’s

government “is babbling prodigiously and incoherently,” expressing at

once “contradictory views.” Matal v. Tam, 137 S. Ct. 1744, 1758 (2017).




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      Indeed, none of the factors identified in Shurtleff v. City of Boston

support finding that faculty are government speakers. See 142 S. Ct.

1583, 1589–92 (2022) (identifying and applying factors to determine

“whether the government intends to speak for itself or” instead regulate

others’ expression). On the first factor, the “history of the expression at

issue,” id., the Supreme Court has long recognized as “self-evident” the

need to avoid state-imposed “strait jacket[s]” on academic speech.

Sweezy, 354 U.S. at 250. Faculty have historically been employed to

speak for themselves as one of “a multitude of tongues” providing “wide

exposure to [the] robust exchange of ideas”—not as government

mouthpieces. Keyishian, 385 U.S. at 603.

      On the second Shurtleff factor, the “public’s likely perception as to

who . . . is speaking,” the public understands that faculty speak

independently.22 Shurtleff, 142 S. Ct. at 1589. The State fosters this

perception, urging that the availability of “divergent ideas, opinions and

philosophies, new and old,” even if “abhorrent,” is a “fundamental



      22  Even Christopher Rufo, vocal proponent of the Stop WOKE Act, concedes
that it was a mistake to expand K-12 teaching restrictions to the college classroom,
where debate should be uninhibited. Stanford Classical Liberalism Initiative,
Stanford Classical Liberalism – Keith Whittington and Christopher Rufo – 5 3 23,
YOUTUBE (May 5, 2023) at 50:00, https://youtu.be/xLHrony2mns?t=2999.


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purpose” of universities.23 And in its statutes, Florida requires surveys of

“intellectual freedom” to gauge whether “competing ideas and

perspectives are presented and . . . faculty . . . feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla. Stat.

§ 1001.706(13)(b) (emphasis added).

      On the third Shurtleff factor, faculty at the undergraduate and

graduate level are not subject to the “active control[]” indicative of

government speech. Shurtleff, 142 S. Ct. at 1592.24 University faculty

have “independent traditions,” “broad discretion as to teaching methods,”

and “intellectual qualifications” beyond those typically found in primary

and secondary schools. Mailloux v. Kiley, 323 F. Supp. 1387, 1392 (D.

Mass. 1971).25 Faculty in higher education are regulated by academic

officers and are hired to design and teach their classes according to their


      23  Fla. Bd. of Govs., State University System Free Expression Statement (Apr.
15, 2019), STATE UNIV. SYS. OF FLA., https://www.flbog.edu/2019/04/15/state-
university-system-free-expression-statement [https://perma.cc/KGQ2-DH3F].
      24  See, e.g., Fla. Dep’t of Educ., Policies & Procedures Specifications for the
Florida Instructional Materials Adoption (effective Aug. 18, 2020),
https://www.fldoe.org/core/fileparse.php/5574/urlt/PoliciesandProceduresSpecificatio
ns.pdf [https://perma.cc/S4TB-GFYN].
      25 Contrast the traditional laissez faire approach to the exchange of ideas in
higher education with the State’s tight control of K–12 instruction (e.g., Fla. Stat.
§§ 1003.41–.42), where the State specifies the number of hours students spend
studying freedom’s blessings (Fla. Stat. § 1003.421) and what material of “patriotic
nature” may be displayed (Fla. Stat. § 1003.44).


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professional competency, even where administrators may “establish the

parameters of focus and general subject matter of curriculum.” Bishop,

926 F.2d at 1073 (quoting Mahoney v. Hankin, 593 F. Supp. 1171, 1174

(S.D.N.Y 1984)).

     C.    The State waived its government-funding theory,
           which is also inapplicable because Florida cannot
           restrict expression within the university “sphere.”

     The State asks this Court to “consider the Supreme Court’s

government-funding cases.” Appellants’ Br. 27. But the State didn’t raise

that theory below. The district court never mentioned Rust because the

State’s briefing never mentioned Rust, and referenced Pleasant Grove

only once, for the unremarkable proposition that government-speech

cases involve private speakers. Doc. 34 at 6 (citing Pleasant Grove City v.

Summum, 555 U.S. 460 (2009), but not Rust v. Sullivan, 500 U.S. 173

(1990)). Likewise, the State cited Walker only for the general principle

that the Free Speech Clause doesn’t apply to government speech. Id.;

Doc. 52 in Pernell v. Fla. Bd. of Governors of the State Univ. Sys., No.

4:22-cv-304 (N.D. Fla. Sept. 22, 2022) at 10–11, 13. By failing to raise a

government-funding theory in the district court, the State has waived the

argument. Access Now, Inc. v. Sw. Airlines Co., 385 F.3d 1324, 1331 (11th



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Cir. 2004) (“This court has repeatedly held that an issue not raised in the

district court and raised for the first time in an appeal will not be

considered by this court.”) (cleaned up).

V.    The District Court Correctly Ruled that the Act is
      Unconstitutionally Vague.

      Florida’s arguments highlight the Stop WOKE Act’s muddled

meaning and its failure to notify “ordinary persons using ordinary

common sense” of the conduct it prohibits. Appellants’ Br. 46–47.26

      The vagueness standard encompasses two crucial concerns: (1) fair

notice of the conduct prohibited; and (2) protection against arbitrary and

discriminatory enforcement. See, e.g., Hill v. Colorado, 530 U.S. 703, 732

(2000); Kolender v. Lawson, 461 U.S. 352, 357 (1983). These

considerations are especially important in the First Amendment context,

where “rigorous adherence to those requirements is necessary to ensure



      26 The State contends that a “more lenient” standard governs vagueness
analyses in the public employment context. Appellants’ Br. 46. In support of this
argument, it relies primarily on dicta in cases devoid of any actual vagueness analysis
or on cases outside the higher education context. See, e.g., O’Laughlin v. Palm Beach
Cnty., 30 F.4th 1045, 1055 (11th Cir. 2022) (declining to address vagueness claim
where plaintiffs failed to adequately raise issue); Arnett v. Kennedy, 416 U.S. 134,
158–162 (1974) (plurality) (upholding regulation permitting termination of Civil
Service employees “for such cause as will promote the efficiency of the service”). If
anything, restrictions on speech within the higher education context should be
subject to an even more stringent standard than usual in order to facilitate the
“robust exchange of ideas.” Keyishian, 385 U.S. at 603.


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that ambiguity does not chill protected speech.” FCC v. Fox TV Stations,

Inc., 567 U.S. 239, 253–54 (2012); see also, Wollschlaeger, 848 F.3d at

1320 (quoting and paraphrasing Reno v. ACLU, 521 U.S. 844, 871–72

(1997)      (“The     vagueness      of        [content-based      regulations        of

speech] . . . raise[s] special First Amendment concerns because of its

obvious chilling effect on free speech.”).

     Florida contends that the Act’s provision permitting “discussion of

the concepts . . . in an objective manner without endorsement of the

concepts”    is     not   vague.   Appellants’      Br.   50    (citing     Fla.   Stat.

§ 1000.05(4)(b)). Citing Merriam-Webster’s definition, Florida asserts

that to discuss something in an objective manner “obviously” means “to

discuss it ‘without distortion by personal feelings, prejudices, or

interpretations.’” Appellants’ Br. 50. After pointing to the Merriam-

Webster definition of the term “objective,” the State concedes that the Act

does not actually prevent faculty from discussing the viewpoints “without

distortion by personal feelings, prejudices, or interpretations,” so long as

they do not “express[] approval” of any of the viewpoints. Appellants’ Br.

51. That, the district court rightly noted, “allows for only one side of the

debate in Florida’s public universities—or for no debate at all.” Doc. 44



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at 119. In doing so, the State “redefined ‘objectivity’” such that it is

divorced from “common sense.” Id. at 120.

      The State’s constructive interpretation also invites arbitrary

enforcement. Whether a discussion is conducted in “an objective manner

without endorsement” hinges on the interpretation of audiences inside

and outside the classroom about whether a faculty member’s explanation

amounts to “endorsement.” That is especially true when the instruction

touches upon hotly-contested issues fraught with emotion. Under these

circumstances, faculty will rationally self-censor, even from devil’s

advocacy or the Socratic method, if a student’s subjective perception of

the discussion’s “objectiv[ity]” or “endorsement” will be used by a

legislative committee or regulators to forfeit millions in annual funding.27

      Florida’s other attempts to demonstrate the Act is not vague also

fail. First, as the State acknowledges, the fact that the Act uses “‘plain,

everyday language’” found in a common dictionary “does not magically

extinguish vagueness concerns.” Doc. 44 at 113. A statute that uses


      27  The State’s construction of the meaning of the “objective manner without
endorsement” mirrors the intent of the Act’s architects. As the district court noted,
the Act’s sponsor asserted that the clause was intended to prevent the introduction
of any “personal point of view into the discussion”—unless that point of view is to
condemn the viewpoint—and that whether a discussion was “objective” depended on
students’ subjective response. Doc. 44 at 117–18 n.59, 120 n.61.


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seemingly ordinary words—as many laws do—can still fail to notify

citizens of what conduct it prohibits. Id. (citing Yates v. United States,

574 U.S. 528, 537 (2015) (“Whether a statutory term is unambiguous . . .

does not turn solely on dictionary definitions of its component words.”)).

The State’s attempt to clarify the commonsense meaning of objectivity by

pointing to its pervasiveness in the American legal system only proves

the term’s complexity. True, judges and attorneys must make

determinations regarding objectivity regularly. But they undergo

specialized training to do so—and even then, they don’t always agree on

what is objective. Neither do philosophers.28

      Ordinary persons using common sense cannot be expected to

understand objectivity as a legal term of art in everyday life. Indeed, this

Court’s Pattern Jury Instructions highlight how the concept of objectivity

can take on different legal meanings in different contexts. In one

instance, the pattern instructions use the term to mean a reasonably

objective person; in another, the instructions ask jurors to distinguish

between objective conditions and subjective feelings. See, e.g., Pattern


      28 Honeyfund.com, Inc. v. DeSantis, 622 F. Supp. 3d 1159, 1183 (N.D. Fla.
2022) (summarizing views of Immanuel Kant, Friedrich Nietzsche, and Maurice
Merleau-Ponty).


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Jury Instructions, Civil Cases, Eleventh Circuit (2013 rev.) 4.19, 4.22

c,t. 2.

          Second, while a scienter requirement could temper arbitrary

enforcement in other contexts, its mere inclusion does not automatically

render an otherwise vague restriction constitutional. See, e.g., Keyishian,

385 U.S. at 599–600 (holding that a statute denying employment to

persons who “willfully and deliberately advocate[] forceful overthrow of

government” was vague). Even if the terms “espouses, promotes,

advances, inculcates, or compels” did imply scienter, the district court

recognized that they “do nothing to clarify how a professor can continue

to incorporate such discussions in their classrooms in an ‘objective’

manner without violating the law.” Doc. 44 at 122–23. Thus, even implied

scienter does not provide fair notice as to whether an instructor’s

classroom discussions are objective enough.

          Third, Regulation 10.005 does not “reduce[] vagueness concerns” by

mitigating the potential for arbitrary enforcement. Appellants’ Br. 48.

The State contends that the Regulation requires universities to first

order faculty to modify their instruction or teaching before issuing

disciplinary measures. Id. Not so. The regulation provides no clear



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opportunity for modification before punishment. Instead, it sets forth a

range of arbitrary options and incentivizes institutions to impose harsh

sanctions to avoid a loss of millions in funding due to an insufficiently

“appropriate” response. Fla. Bd. of Govs. Reg. No. 10.005(3)(c).

      The Stop WOKE Act fails to notify ordinary citizens of the conduct

it prohibits and invites arbitrary enforcement. Should this Court lift the

preliminary injunction imposed by the district court, it risks chilling

unfettered open debate on college campuses. See Reno, 521 U.S. at 871–

72 (“The vagueness of such a regulation raises special First Amendment

concerns because of its obvious chilling effect on free speech.”).

VI.   The Stop WOKE Act’s Vague Objectivity Without
      Endorsement Clause is not Severable.

      The Act’s “objectivity without endorsement” infects the remaining

provisions with vagueness and renders the entire Act unconstitutional.

Doc. 44 at 125 n.62. Deleting the saving clause from the statute

altogether cannot save the Act from constitutional infirmity.

      Severability is a matter of state law. Leavitt v. Jane L., 518 U.S.

137, 139 (1996). Florida law dictates that “[i]f the legislative intent of the

statute cannot be fulfilled absent the unconstitutional provision, the

statute as a whole must be declared invalid.” Fla. Dep’t. of State, Div. of


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Elections v. Martin, 916 So.2d 763, 773 (Fla. 2005). Throughout the

legislative process, the Stop WOKE Act’s sponsors repeatedly claimed

that the law did not bar objective discussion. See, e.g., Doc. 19-1 at 4–9,

¶¶ 10, 13, 14; Doc 19-13 at 51:13–59:18, 1:18:25–44; Doc. 19-15 at 43:49,

55:00–56:02; Doc. 19-16 at 6:07:07. While the meaning of “objective

manner without endorsement” remains ambiguous, one thing is clear:

the State has provided no evidence that it intended to enact a version of

the Act without the objectivity clause. Indeed, if this Court were to sever

the objectivity clause from the rest of the statute, it would create a law

even more constitutionally suspect than the one the State enacted

because there would be no question that public professors must conform

to the State’s mandated viewpoints.

     Similarly, the individual concepts, if found unconstitutional, cannot

be severed from the Act. The state legislature selectively chose the eight

prohibited concepts to function together as a cohesive “framework,” and

not as independent provisions. In an article meant to correct perceived

misconceptions about the proposed law, Representative Bryan Avila

wrote the legislation “provid[es] teachers with a clear and unifying

framework to teach the facts about history, current events, and more, and



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not divisive ideologies.” Doc. 19-19. And Governor DeSantis issued a

public handout stating the Act “codifie[d] the Florida Department of

Education’s prohibition on teaching critical race theory[.]” Doc. 19-13. In

other words, the Act’s drafters and supporters deliberately included each

of the prohibited concepts with the intention to completely outlaw critical

race theory. If the court were to sever certain concepts from the others,

the law would no longer present a “unifying framework” or the complete

prohibition of critical race theory the legislature intended.

VII. Plaintiffs Successfully Satisfied the Remaining Preliminary
     Injunction Factors.

     Plaintiffs satisfy the remaining preliminary injunction factors:

They will suffer irreparable harm; the balance of equities tips in their

favor; and an injunction is in the public interest. Winter v. Nat’l Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008).

     The Stop WOKE Act will cause irreparable harm to Plaintiffs if this

Court lifts the injunction. The “loss of First Amendment freedoms, for

even minimal periods of time, unquestionably constitutes irreparable

injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Should this Court

reverse the district court’s injunction, the Act will harm their rights to

speak on and receive information and ideas.


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      The district court correctly held that the balance of equities weighs

“decisively” in Plaintiffs’ favor, as the state “has no legitimate interest in

enforcing an unconstitutional ordinance.” Doc. 44 at 127 (citing KH

Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir. 2006)).

On the other hand, the public has an overwhelming interest in unfettered

discourse in our public universities, as academic freedom “is of

transcendent value to all of us and not merely to the teachers concerned.”

Keyishian, 385 U.S. at 603.

                              CONCLUSION

      The State identifies no reason for this Court to overturn the district

court’s decision. So this Court should affirm the decision and remand the

case for further proceedings.

DATED:      June 16, 2023                      Respectfully Submitted,

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     I hereby certify that I electronically filed the foregoing with the

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